Case 9:22-cv-81294-AMC Document 42 Entered on FLSD Docket 08/30/2022 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-81294-CIV-CANNON

   DONALD J. TRUMP,

                          Plaintiff,

   v.

   UNITED STATES OF AMERICA,

                          Defendant.
                                                     /

                   MOTION TO APPEAR PRO HAC VICE,
   CONSENT TO DESIGNATION, AND REQUEST TO ELECTRONICALLY RECEIVE
                    NOTICES OF ELECTRONIC FILING

         In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer

  Review, and Discipline of Attorneys of the United States District Court for the Southern District

  of Florida, the undersigned respectfully moves for the admission pro hac vice of Brad S. Karp of

  the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas,

  New York, NY 10019-6064, (212) 373-3000, for purposes of appearance as co-counsel on behalf

  of Amici Curiae in the above-styled case only, and pursuant to Rule 2B of the CM/ECF

  Administrative Procedures, to permit Brad S. Karp to receive electronic filings in this case, and in

  support thereof states as follows:

        1.       Brad S. Karp is not admitted to practice in the Southern District of Florida and is a

  member in good standing of the bars of the State of New York and the U.S. District Court for the

  Southern District of New York, as well as several other federal bars.

        2.       Movant, Jay B. Shapiro, Esquire, of the law firm of Stearns Weaver Miller Weissler

  Alhadeff & Sitterson, P.A, 150 West Flagler Street, Suite 2200, Miami, FL 33130, is a member in
Case 9:22-cv-81294-AMC Document 42 Entered on FLSD Docket 08/30/2022 Page 2 of 3




  good standing of the bar of the State of Florida and the U.S. District Court for the Southern District

  of Florida and is authorized to file through the Court’s electronic filing system. Movant consents

  to be designated as a member of the Bar of this Court with whom the Court and opposing counsel

  may readily communicate regarding the conduct of the case, upon whom filings shall be served,

  who shall be required to electronically file and serve all documents and things that may be filed

  and served electronically, and who shall be responsible for filing and serving documents in

  compliance with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF

  Administrative Procedures.

        3.         In accordance with the local rules of this Court, Brad S. Karp has made payment of

  this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is attached hereto.

        4.         Brad S. Karp, by and through designated counsel and pursuant to Section 2B

  CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic

  Filings to Brad S. Karp at email address: BKarp@paulweiss.com.

             WHEREFORE, Jay B. Shapiro, moves this Court to enter an Order for Brad S. Karp to

  appear before this Court on behalf of Amici Curiae in connection with the proceedings in the

  above-styled matter and directing the Clerk to provide notice of electronic filings to Brad S. Karp.


  Date: August 30, 2022                                 Respectfully submitted,

                                                        /s/ Jay B. Shapiro
                                                        Jay B. Shapiro
                                                        Florida Bar No. 776361
                                                        jshapiro@stearnsweaver.com
                                                        STEARNS WEAVER MILLER WEISSLER
                                                        ALHADEFF & SITTERSON, P.A.
                                                        150 West Flagler Street, Suite 2200
                                                        Miami, FL 33130
                                                        Telephone: (305) 789-3229

                                                         Counsel for Amici Curiae



                                                    2
Case 9:22-cv-81294-AMC Document 42 Entered on FLSD Docket 08/30/2022 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 30, 2022, I electronically filed a copy of the foregoing

  document with the Clerk of the Court using CM/ECF, which sent a notice of electronic filing to all

  counsel of record.

                                                      By: /s/ Jay B. Shapiro
                                                          Jay B. Shapiro




                                                  3
